               Case 09-12099-MFW              Doc 2624        Filed 11/30/18        Page 1 of 3




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                       )        Chapter 11
                                                             )
EBHI HOLDINGS, INC., et al.,1                                )        Case No. 09-12099 (MFW)
                                                             )
                 Debtors.                                    )        Jointly Administered
                                                             )
                                                             )        Re: Docket No. 2620
                                                             )

       FINAL DECREE AND ORDER CLOSING THE CHAPTER 11 CASE OF
         EBHI HOLDINGS, INC. AND TERMINATING THE SERVICES OF
     KURTZMAN CARSON CONSULTANTS LLC AS CLAIMS, BALLOTING, AND
           NOTICING AGENT IN THE DEBTOR’S CHAPTER 11 CASE

         Upon consideration of the motion (the “Motion”) of Peter Kravitz, the liquidating trustee

(the “Liquidating Trustee”) on behalf of the above-captioned debtors (collectively, the

“Debtors”), for entry of an order (a) closing the chapter 11 case of EBHI Holdings, Inc. and (b)

terminating the services of Kurtzman Carson Consultants LLC (“KCC”) as Claims, Balloting,

and Noticing Agent in this chapter 11 case (the “Claims Agent”), and the Court having reviewed

the Motion; and the Court finding that: (a) the Court has jurisdiction over this matter pursuant to

28 U.S.C. §§ 157 and 1334; (b) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and

(c) due and sufficient notice of the Motion has been given; and after due deliberation and

sufficient cause appearing therefor, it is hereby:

1
          The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
number, are: EBHI Holdings, Inc. (f/k/a Eddie Bauer Holdings, Inc.), a Delaware corporation (2352); Amargosa,
Inc. (f/k/a Eddie Bauer, Inc.), a Delaware corporation (9737); Gobi Fulfillment Services, Inc. (f/k/a Eddie Bauer
Fulfillment Services, Inc), a Delaware corporation (0882); Arabian Diversified Sales, LLC (f/k/a Eddie Bauer
Diversified Sales, LLC), a Delaware limited liability company (1567); Gibson Services, LLC (f/k/a Eddie Bauer
Services, LLC), an Ohio limited liability company (disregarded); Karakum International Development, LLC (f/k/a
Eddie Bauer International Development, LLC), a Delaware limited liability company (1571); Simpson Information
Technology, LLC (f/k/a Eddie Bauer Information Technology, LLC), a Delaware limited liability company
(disregarded); Sandy Financial Services Corporation (f/k/a Financial Services Acceptance Corporation), a Delaware
corporation (7532); and Sonoran Acceptance Corporation (f/k/a Spiegel Acceptance Corporation), a Delaware
corporation (7253). The mailing address for EBHI Holdings, Inc. is 10401 N.E. 8th Street, Suite 500, Bellevue, WA
98004. On or about the Petition Date, Tenere of Canada, Inc., and Yuma Customer Services, Inc., affiliates of the
Debtors, commenced a proceeding before the Superior Court of Justice, Commercial list, for the Judicial District of
Ontario, for a plan of compromise or arrangement under the Companies’ Creditors Arrangement Act.


10023210v1
             Case 09-12099-MFW         Doc 2624      Filed 11/30/18     Page 2 of 3




                 ORDERED, ADJUDGED AND DECREED that:

                 1.   The Motion is GRANTED.

                 2.   Pursuant to section 350 of the Bankruptcy Code, Bankruptcy Rule 3022,

and Local Rule 3022-1, effective immediately as of the entry of this Order, the chapter 11 case of

EBHI Holdings, Inc., Case No. 09-12099 (MFW) is hereby closed and a final decree is hereby

granted.

                 3.   Pursuant to Local Rule 2002-1(f), the services of KCC as Claims Agent

are hereby terminated effective as of the entry of this Order. Notwithstanding the foregoing,

KCC shall cause a copy of this order to be served upon (a) the U.S. Trustee and (b) all parties

entitled to receive notice in this Chapter 11 Case pursuant to Bankruptcy Rule 2002.

                 4.   Notwithstanding the foregoing, in accordance with Local Rule 2002-

1(f)(ix), within twenty-eight (28) days of entry of this Order, KCC shall (a) forward to the Clerk

an electronic version of all imaged claims; (b) upload the creditor mailing list into CM/ECF; and

(c) docket a final Claims Register in the case of EBHI Holdings, Inc., Case No. 09-12099

(MFW). Further, KCC shall box and transport all original claims to the Philadelphia Federal

Records Center, 14470 Townsend Road, Philadelphia, PA 19154 and docket a completed SF-135

Form indicating the accession and location numbers of the archived claims.

                 5.   The Liquidating Trustee shall (a) file or otherwise provide to the U.S.

Trustee its Chapter 11 Post-Confirmation Quarterly Summary Report with respect to the

reporting period from October 1, 2018 through and including the entry of this Order (the “Final

Period”) within fourteen (14) days of the entry of this Order; and (b) pay all fees due and owing

pursuant to 29 U.S.C. § 1930(a)(6) for the Final Period within twenty-one (21) days of the entry

of this Order.


                                                2

10023210v1
             Case 09-12099-MFW          Doc 2624      Filed 11/30/18     Page 3 of 3




               6.      This Court shall retain jurisdiction with respect to any and all matters

arising from or related to the interpretation or implementation of this Order.




       Dated: November 30th, 2018                3
       Wilmington, Delaware                            MARY F. WALRATH
10023210v1                                             UNITED STATES BANKRUPTCY JUDGE
